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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )              CASE NO. 8:06CR116
                                            )
      Plaintiff,                            )
                                            )                    ORDER
             vs.                            )
                                            )
LAVELLE GILES,                              )
                                            )
      Defendant.                            )


      This matter is before the Court on the government’s Motion for Dismissal of Petition

for Offender under Supervision (Filing No. 968). Under Federal Rule of Criminal Procedure

48(a), leave of court is granted for the dismissal of the Petition for Warrant or Summons

for Offender Under Supervision (Filing No. 957) against the above-named Defendant,

without prejudice.

      IT IS ORDERED:

      1.     The government’s Motion for Dismissal of Petition for Offender under

      Supervision (Filing No. 968) is granted, and the Petition for Warrant or Summons

      for Offender Under Supervision (Filing No. 957) is dismissed, without prejudice; and

      2.     The Defendant’s previous imposed conditions of supervised release remain

      in effect.

      DATED this 23rd day of September, 2016.


                                         BY THE COURT:


                                         s/Laurie Smith Camp
                                         Chief United States District Judge
